Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 1 of 80

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EXHIBIT A

 

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 2 of 80

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 3 of 80

EXHIBIT:
TYPE:
DATE:
TIME:

PARTICIPANTS:

UNITED STATES v. RECINOS GARCIA. ET AL.
Cr. No. 15-10338-FDS
DRAFT TRANSCRIPT

ID - 179

Audio/ Video Rec'ording

January 8, 2016

12:35:48

CW-l

JOEL MARTINEZ, A/K/A “ANIMAL”

HERZZON SANDOVAL, A/K/A “CASPER”
EDWIN GUZMAN, A/K/A “PLAYER”

EFRAIN YANEZ VASQUEZ, A/K/A “CABALLO”
LUIS SOLIS VASQUEZ, A/K/A “BRUJO”
CARLOS MELARA, A/K/A “CHUCHO”

ERICK ARGUETA LARIOS, A/K/A “LOBO”
JOSE HERNANDEZ MIGUEL, A/K/A “MUERTO”

VICTOR RUIZ, A/K/A “MATADOR,” A/K/A “VICENTINO,” A/K/A
“CHENTINO”

CESAR MARTINEZ, A/K/A “CHECHA”
FNU LNU, A/K/A “DUQUE”

*****************************************************************************

Case 1:15-Cr-10338-FDS Document 2761-1

CW-l :
MUERTO:
CW-l :

MUERTO:

CW-l:

MUERTO:

CW-l:

MUERTO :

CW-l :
MUERTO:
CW-l :
MUERTO:
CW-l :

MUERTO :
shrimp.

CW-l :
MUERTO:
CW-l :
MUERTO:
CW-l :

MUERTO :

[Entering car]

Filed 10/09/18 Page 4 of 80

What’s up, dude?
Hello, what’s up?
Where are you?

Nothing. We’re here, at this place, What’s it called here, Texas UI? ...Here, at
Texas.

No, dude. No way, dude.

Wait until we’re outside, dude. lt’s just that. . .I was just paying and you have to
be careful, dude.

Why, dude?

Because, uh, don’t mess around, man! Can’t you see there’s a truck there, with the
lights on, dude?

Where, man?

lt was going that way towards this side.

Huh?

Come to the back. We are in CHENTINO’s car.

Dude, I’m sitting very low in the car, but . . . Where is that truck?

The truck is going that way. CHENTINO wants to know if you want some

No, well, I’ll gladly have them, man.

Huh? No, man. CHENTINO just went to buy them.

But that. . .

Right now, we are here. We’re going to leave in a little bit, man.
But, where the fuck are you all going?

Nowhere, dude.

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18

Page 5 of 80

MUERTO: You are going to fuck up CHENTINO’s car, man.

CASPER: You’re going to UI to the homie, dog.

CW-l: No, man and where are the chickens?

CASPER: What’s up?

CW-l: What’s up?

ANIMAL: What’s up, homie?

CASPER: This shit is already fucked up.

CW-l: No, man, homeboy.

ANIMAL: Well. ..

CW-l: I don’t believe you that this is fucked up.

CABALLO: Do you want one?

C_W-l: No, I am Evangelical.

MUERTO: D0 you want some shrimp?

CABALLO: Huh?

CW-l: Shrimp, man.

CABALLO: Shrimp; shrimp in a bag.

MUERTO: Huh?

CW-l: No, man, homeboy.

MUERTO: Look, CABALLO, quesadillas...lt’s just that Joaquin, that dude had him. He
almost had him by the hand, up there.

CW-l: Huh.

MUERTO: Joaquin was taking a boy with him, dude. A child from UI, at child around at

around seven in the morning. And that dude said, “What we’re going to do is
we’re going to take the child away from this son of a bitch here and we’re going

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 6 of 80

MUERTO:

CABALLO:

MUERTO:

CW-l:

MUERTO :

CABALLO:

MUERTO :

CABALLO:

MUERTO:

CABALLO:

MUERTO:

MATADOR:

MUERTO:

MATADOR:

to kill him here.” No, man, all ofa sudden l saw the son of a bitch. He was one of
the old guys, dude.

Beat him up, CABALLO, dude.
Hmm.

And they said, “No, homie. Don’t do anything to that homie.” Even a radio, dude,
radio. “No, dude, here comes the son of a bitch! Don’t do anything.” And there,
right at the house, the son of a bitch took out the radio.

Uh-huh.
The son of a bitched sensed that death was near, dude.
Uh-huh.

He stayed there about 15 minutes, talking with that son of a bitch there. As soon
as he crossed and went up, man, Oh, man! Look, I swear; it was like a war, man,
“Bambambambambambam.” It was full blast, man, between those beat-up walls.
So they’re in this thing. ..

Yes, right.

In the middle there. “Bambambambambam” Then, all of a sudden, the shotgun,
“Boom, boom!” Even CABALLO died there, dog. That son of a bitch took out

a .45, that stupid old man, dude. He just fired two shots into the air. That dude had
a .45 in his hands, man, and in the backpack, he had a Super TT, dude. But it was
junk! That son of a bitch had two guns. He ended up there slumped over. A dude
came by, man, a dude ran up and jumped into the street, man, He said to that
dude, “Hold on, man, I’m going to take one of these guns.” “Take the one in his
hand.” “No, I’m not taking that one,” and he didn’t take it; he only took the one
that the old guy had in the backpack. You know, the guy just said, “No, I just did
it because of this. This is the only reason I wanted to come.”

Just for the sledgehammer.

Just for the sledgehammer. And the dudes took off and everything was left there.
The son of a bitch was left spread out there.

CABALLO?

CABALLO.

And what about that culero, Joaquin?

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 7 of 80

MUERTO:

CABALLO:

MUERTO:

CABALLO:

CW-l:

MUERTO:

ANIMAL:

MUERTO:

CABALLO:

CW-l:

CABALLO:

CW-l:

MUERTO:

CABALLO:

MUERTO:

CABALLO:

MUERTO:

CABALLO:

ANIMAL:

MUERTO:

CABALLO:

Well, the son of a bitch did not come over.

Joaquin got caught. ..

UI.

Joaquin Guzman was also caught today?

No, man. I am sad, dude. We don’t have any more kilos.

The other son of a bitch was never seen again, homie. The other son of a bitch is
treading light.

No kidding.

Treading lightly, homie.

He is corning here?

They won’t send him over here because I’m already doing the voodoo on him.
The UI fell today, dude.

It wasn’t worth shit!

Who?

Guzman.

El Chapo?

Yes.

Oh, son ofa bitch, man! I’m going to retire now. He is no longer going to sell a
lot of drugs here, dude.

No, but look. Hey, if you are selling that stuff. I mean powder or whatever, don’t
cut it too much so that.the dudes will always look for you.

[laughs]
No, man, No.
Didn’t I tell you all that day, remember that day when we were talking, and l told

you all . . . I told that homie, “Buy some stuff that’s not too messed up,” I said.
“Because I have some stuff there that comes from rocks.”

5

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 8 of 80

CW-l :
CABALLO:
CW-l :
MUERTO:
CABALLO:
MUERTO:

CABALLO:

MATADOR:
CABALLO:
CW-l :
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MATADOR:
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CABALLO:
MUERTO:
CW-l :
CABALLO:
MUERTO:
CABALLO:
MUERTO:

ANIMAL:

Hmm.

And I’m giving it at half-price.

There’s a customer, MUERTO. MUERTO is selling some stuff right now.
No, dude. I don’t sell that stuff anymore, man, What I sell is. ..

That’s cool. You know that you can. It’s not that you do it, dude

Hmm.

I’m going to die here working, dude. Because of my shit, you know? I have it in
my head that I’m going to die working, Damn CHENTINO with a car, homie.

[laughs]

Huh?

But hold on, I am about to burn it, dude.
And why is that?

He pirated all my clients.
Who’s that?

There goes LOBO, look.
Look, who is that?

LOBO.

LOBO.

What car does that guy have?
A truck.

The white one?

Uh-huh.

Yes.

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 9 of 80

CABALLO:

MUERTO:

MATADOR:
MUERTO:
CABALLO:
MUERTO:
CW-l:

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CW-l :
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MUERTO:

CABALLO:

MUERTO:
CABALLO:

MUERTO:

MATADOR:

CABALLO:

MUERTO:

Man, I can’t see a soul, man.

Those dudes, I don’t know what’s going on, dude, knowing that at the shop the
sons of bitches can’t. ..

Why don’t they do it in the other one?

One can’t stop there, dog. And they go and park over there
Who says that we can’t go to the shop?

When BRUJO is not in.

Yes, that BRUJO doesn’t give a shit, for real, man.

They go park right in front of the shop, but not me. I’m not going to park in front
of the shop.

Does he park at the shop?

And the mechanic comes by all the time there. He leaves at night
I feel like beating the shit out of him.

You should hit him with a gun in his damn mouth, dude.
Uh-huh.

But, hey homie. Let’s come with hoods on and put the gun in the old son ofa
bitch’s face.

No, because the old fool over there is also going to see what’s happening
And beat the shit out of him.

Watch to see when the fucker has money. Man, on that day, I was checking him
out.

Uh-huh, sometimes he does have

Look, man, you should beat him up and put the sledgehammer on him,
understand? Ask him what the problem is, dude. Huh? Ask what the problem is,
you know? No, we’re not going to burn the dude either. Tell him that we’re going

to rob him, right?

Uh-huh.

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 10 of 80

CABALLO:

MUERTO :

CABALLO:

MUERTO :

CABALLO:

CW-l:

MUERTO :

MATADOR:

CABALLO:

MUERTO :

CABALLO:

MUERTO:

CABALLO:

MUERTO :

CABALLO:

And give him a good beating.
The son ofa bitch,

Dudes, one day l called the number that the idiot has on the wall. He says, “Oh,” I
said, “What’s up? Can I speak to Chicon?” He told me, “Oh, yeah. I’m going to
give you the number so you’ll stop bothering and you can call him directly,” he
said. '

Well.

And I told Chicon, “Chicon, go bring the box of UI, dude.” Chicon said, “Well,
fuck you, son of a bitch. Look, you don’t talk to a homie or to one of my homies
like that, man.” I told Chicon, “Buy that shit and we’ll go by there every day,
homie.”

Uhm.

No, and Chicon was saying that he was the owner the other day, man. And he was
not the one that kicked out Bestia, man.

Chicon UI?

They already got La Bestia out of here?
Uh-huh.

When, when did they get him out?

On, on . . . when was it? UI and then, the other day, Chicon started bothering him,
fucking bothering and fucking bothering a guy there. “If you don’t pay him by
tomorrow, get this shit out of here,” I told him, in front of a bunch of people. And
the Bestia said, “No man, dude But look, let’s do it like this because shit, these
dudes are homeboys,” he said but . . . That’s what he told me: “Yeah, l am telling
you, look, I’m tired of that son ofa bitch, Chicon, talking to me like that.” “One
of these days, we’re going to beat each other up,” he said. “Oh, well,” he told me,
“And the problem is that when I get mad, I’m a little dangerous l might shoot
him, man.”

Didn’t he say the other day that he had a gun in the drawer?
That dude had a shit load of bullets there.

Oh, yeah?

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 11 of 80

MUERTO:

CABALLO:
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MATADOR:
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CABALLO:

Oh, well, he came Oh well, he came by there the other day and we were there,
that son of a bitch started to talk about shit like that in front of me. And he told
him, “Hey, look, if you, if you don’t have all the money for me by Saturday, it’s
about time that you find a way to get this Shit out of here.” He said and he said it
in front of Bestia’s clients. Bestia said, .. he grabbed the phone and said, “What’s
up, boy?” he told the guy, “Listen, what’s up, are you going to leave me?” The
guy said to him, “Yes.” So, he told the guy, “If you want, send for the boxes.”
But was it bullshit or for real?

No, for real.

And where does he want to work now?

Well, he went to Cambridge.

Oh, Cambridge.

Uh-huh.

I am going to go over there too.

Today, that son of a bitch is going to be crying that Bestia owes him, that he owes
him... He should just shoot son of a bitch in the mouth, man.

Knocked down?

Yes.

And knock him down.

Yeah.

Knock him down. l

Because the son ofa bitch would not leave Bestia alone, dude

Look I. ..

he was always giving him shit.

Look, I don’t talk about too many things, dude, but ifI manage to grab him,
dude. .. on that day he did tell me, “Hey, I’m going to give you the number for

Chicon so you won’t be bothering me,” he said. “And, do you know who is
calling?” He said, “Yes.”

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 12 of 80

MUERTO :

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CABALLO:

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CW-l:

CABALLO:

CW-l:

CABALLO:

CW-l:

CABALLO:

Hello... What up?....

You guys are still there, right?

Yes.

I’m going to bring that guy over there so, so that you guys can open the door.
Alright, then.

l’ll drop by there soon. Oh, and look

Huh?

Did that guy already get there?

Yes.

ls he already there too?

Yes.

Awesome. l’ll be right there.

And l think CHENTINO is also going to get it today for stealing clients.

I think so, man. Because l’m upset, man. l don’t like what the homeboy did to me.
He stole the clients that you had?

Yeah, even the women, man,

Oh, but women aren’t worth a shit, The. ..

No.

The clients are the ones that feed you. Women don’t, homie. Let that homie screw
them.

Well, he can screw them but he needs to give me back my female clients.
He took them away from you?
Yeah, dude.

You were charging them ten bucks and he is five
lO

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 13 of 80

CW-l:
CABALLO:
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MATADOR:
CW-l :
CABALLO:
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MATADOR:
MUERTO:
CABALLO:

MUERTO:

No, today, he charges them twenty-five. He charges them more.
But the ladies are happy there?

They’re happy with

Oh, they want to be with him,

They say that the Kia smells and this and that,

lt smells good. Yeah, it’s no bullshit.

Even to fuck this guy has the Kia there.

Who, man?

You are the owner?

No, uh?

Be careful with thinking about the Kia, hey!
Hey.

Ul a bitch.

A bomb almost exploded over here.

I’m telling you No, no.

What did they tell you, homey?

Huh?

What did they tell you?

Don’t mess around.

lt’s fucking tough to be having sex in a car, man.
But no, l didn’t . . . l took the car but l took the woman to her house.

Why do you think that that day, man . . . l had a girl there, man and l just put the
head in and she wouldn’t get in after that.

ll

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 14 of 80

CW-l:
CABALLO:
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MUERTO:

CW-l:
CABALLO:

MUERTO:

MATADOR:

CABALLO:

CABALLO:
CW-l:
MATADOR:
CW-l:

CABALLO:

MATADOR:

CW-l:

MUERTO:

Oh, but you tried it. That’s already fucked up.

Oh, but it didn’t go in?

No, no. That’s already fucked up.

She was drunk then.

So then, just half the car is going to get fucked up, from the door on back.

Oh, hell. Both of yours can get messed up, man, I’m not going to get anything
messed up.

No, because, l’m not . . . I’m not doing anything vulgar anymore,
He took your clients.

Look, at this girl, right . . . l Ul where I’m going to beat up those culeros, when
they’re on top of the bus.

Ul. Go look for them at the Ul.

Well, l friended a girl from San Antonio, dude; l already erased her in one shot.
She never got to me, dude. She has a shitload of people, dude. Man, nah! To me,
any girl who has too many people as friends, no, fuck it, homie! She has 240 guys
as friends.

Fuck that! l was jealous!

This dude.

Watch, Juan Camaney Ul . . .

Like. ..

Remember when that broad said, not here. She said, “l gave you a quickie.” What
did she say to the guy?

Since he already had the gun.
[background radio/TV]
Son of a bitch

Fucker! Oh, son ofa bitch!

12

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 15 of 80

cABALLo;

CW-l:
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CW-l :
MUERTO:
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CABALLO:
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MATADOR:
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MUERTO:
CABALLO:

MUERTO:

CABALLO:
CW-l:
CABALLO:

CW-l:

No, it’s ugly down there, homie. But, there’s nothing else to do, but . . . fuck it, if
we die over there, it’s no big deal; it’s better than dying here,

No, man. lt’s better here.

lt’s too many obligations for one’s family, dude.

No, man, to die and if there’s no money?

They cremate you.

No, they turn you over to the city. They donate you to. ..
Since I am going not going to ask where to die, huh...
No. Ul.

lf l have to stay here, l want to stay, don’t you see that over there in El Salvador
where the fuck would Ul.

lt’s better over there, homie, because over there. ..
l would go to Spain, like Bestia fled.

To Italy.

To Italy, he said,

Really, the people from El Salvador go to Spain?
Yes.

Yes.

Oh.

Ah, man. As soon as l buy a Powerball, dude, and as soon as l hit that money, l’ll
take off to wherever, man.

Look, stop drinking. Have you had a drink?
No.
l brought you one, dude.

Oh, God.
13

Case 1:15-Cr-10338-FDS Document 2761-1

CABALLO:

CW-l:

CABALLO:

CW-l:

CABALLO:

CW-l:

CABALLO:

CW-l:

CAB ALL O :

CW-l:

CABALLO:

CW-l:

MATAD OR:

CABALLO:

MATADOR:

MUERTO:

MATADOR:

MUERTO :

CW-l:

MATADOR:

CABALLO:

MUERTO :

Filed 10/09/18 Page 16 of 80

lt makes me sick. ..

The. ..

Ul.

The what-do-you-call-it? Your

UI.

Your liver is already blocked up,

Let’s see what you said.

lt’s that the liver is very narrow, it’s new.
Hey, and those six ended up in that pit over there where MALDITO was, right?
Oh, over there in Usulutan, it’s where it was?
Six. They were Ul, doggie.

That was someone. ..

They say that they had them like on a list, right? Because there were more. .. but
they already had their names on a list.

Yes, uh-huh, sure, because about three went.

Just like we are here Ul MALDITO came over and said, “Oh, so and so and so
and so” and who were the others, dude?

And who was driving the Kia?

Yeah, dude. That’s how they attacked them.
Yeah.

No way!

Yeah.

Just like that, six, six, dude.

Ul.
14

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 17 of 80

MATADOR:
MUERTO:
CABALLO:

MUERTO:

CABALLO:
MUERTO:
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CABALLO:
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CABALLO:

MUERTO:

CW-l :
MUERTO:

CABALLO:

MUERTO:

CABALLO:

MUERTO:
CABALLO:

CW-l:

But there was a shitload of people there. There was a shitload. ..
But, homie, hey, hey, dog
But they’ve killed culeros there . . . police too, man.

Let me tell you something, dog. Over there in El Salvador, the dudes. .. it’s that
the dudes do things brazenly. They don’t think. Well, you know

No, if those dudes see a cop, or a culero over there, they kill him right there.
They kill them on the spot, no problem.
That’s true, man.

They don’t plan, they don’t plan. l think that in order to survive, you have to put
some thought into it.

But if you don’t do it with them at the same time, just like the culeros. ..
Uh-huh, just like the culeros.
They themselves will kill you!

No, right. That’s why I’m telling you, something like that can be done. But . . .
it’s that, I’m seeing some things that also aren’t. ..

That’s bullshit, man,

Don’t let them follow you. l mean, well, yeah. lf the cops know where you live.
But, look, ifthere’s a dude, like one of those dudes around, and if you tell him,
“Hey, doggie, no, no. We’re not going to kill him here, We’re going to do it over
there.”

Uh-huh.

They will stare at you and shoot you three times in the face and that’s it, good
bye, friend.

And that’s good.
Huh? You can’t tell the dudes how you are going to do the. ..

The thing.
15

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 18 of 80

CABALLO:
MUERTO:
MATADOR:
CABALLO:
MUERTO:
CW-l :
CABALLO:
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MATADOR:
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CW-l :
MUERTO:
CABALLO:
CW-l :

CABALLO:

The thing, right.

Uh-huh. Hmm.

No.

CHENTINO has a shitload of girlfriends.

The first time that. ..

Hey, look, look, who has CHECHA’s number so l can call him, man?
l have it, doggie.

What for man?

For him to come over.

Oh.

The first time l went, man, to, to do that, man.

You have it? Ul.

Damn phone.

l wasn’t. .. The fucking bus did not stop for me, dude.
Shitty phone.

Huh?

l have a shitty phone.

No man, doggie. lt’s an LG.

Look at it!

That’-s one of the new ones, the ones that cost nine hundred bucks.
Listen to that. ..

Well, almost a thousand.

No, man. lt’s an, an LG, dude.
16

Case 1:15-Cr-10338-FDS Document 2761-1

CW-l:

MUERTO:

CABALLO:

MUERTO:

CW-l:

MATADOR:

CABALLO:

CW-l:

MUERTO:

CW-l:

CHECHA:

CABALLO:

CHECHA:

CABALLO:

CHECHA:

CABALLO:

CHECHA:

CABALLO:

CHECHA:

CABALLO:

CHECHA:

CABALLO:

Filed 10/09/18 Page 19 of 80

An LG?

Again.

lt costs 70 bucks there at Target.

Oh shit!

Oh, shit! Said Ul.

How much does it cost?

Seventy. Hold on, homie, I’m going to call the dog right now.
Tell him to come to the shop here.

What’s going on, doggie? Ul CHENTINO, dude.
Shut up, man!

What’s up, doggie?

What’s up, what are you doing?

Nothing. We are all here at the shop.

Oh, fucking great then. Well, that’s why l was calling you, so that you could
come by here, homie, but if you’re here, there is no problem.

Uh-huh.
That’s great, doggie. Huh?
I’m here outside, homie.

That’s fucking great. So, when the rest of the men show up, then, we’ll let you
know.

All right, that’s awesome.
Fuck yeah, dog.
Alright, we’ll see you there.

Yeah.
17

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 20 of 80

MUERTO :

CW-l:

MUERTO:

CABALLO:

MUERTO :

CABALLO:

MUERTO:

CABALLO:

MUERTO:

CABALLO:

CW-l:

CABALLO:

MUERTO:

CW-l:

CABALLO:

CW-l:

CABALLO:

CW-l:

CABALLO:

MUERTO:

CW-l:

He’s with LOBO.
He’s with LOBO, dude.

Well, let’s see what’s going on with this dude LOBO and the gun. Well, l have a
contact for guns but . . . for any gun that we want.

Well then, get me one for Monday, then.
What gun do you want?

A nine.

That’s great but. ..

Yeah, my gun is too heavy, homie.

l have to talk to the guy.

l have to fucking eat a lot, homie, for me to be carrying, dragging that fucking
gun.

That’s the one that we should’ve sold to this dude, right?
Yeah.

lt’s the same one.

That’s right.

And that’s what l was going to tell you, that thing UI.

Fuck, homeboy, because

lt was light; that fucking thing was all aluminum.

No, dude. The one , fuck, that was a .45 but very beautiful. ..
And they had given this one to Chucky?

No, man, it was nickel-plated, dude.

lt was clean with a little bronze, man it had a like. . .the color of lead; like this,
like. ..

18

Case 1:15-Cr-10338-FDS Document 2761-1

CABALLO:

CW-l:

MUERTO :

CW-l:

CABALLO:

CW-l:

CABALLO:

MUERTO :

CW-l:

MUERTO:

CABALLO:

CW-l:

CABALLO:

MUERTO:

CABALLO:

MUERTO:

CABALLO:

CW-l :
MUERTO:
CW-l :
MUERTO:
CW- 1 :

MUERTO :

Filed 10/09/18

Copper.

Copper.

Something like this.

And nickel-plated, man.

Go figure. Too late, amigo.

Fuck! That guy even jumped forjoy.

Fuck Ul.

What did the guy say to you?

“Hey, tiger,” he said to me. “This one is a beautiful girl,” he said.
So then

Whom did you buy the gun from?

From Ul.

Huh?

And look, this homie sold it to him for $1000 bucks.
ForlOOU?

Uh-huh. He gave me 100 and he kept 200.

We’re going to grab it away from the son of a bitch.

No, he already sent it.

He already sent it?

Yeah, right now . . . He was going to do that.

Oh yeah?

Yes.

lt’s a shitty gun, dude.

19

Page 21 of 80

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 22 of 80

CW-l :
MUERTO:
MATADOR:
CABALLO:
CW-l :
CABALLO:
CW-l :

CABALLO:

MUERTO:
CABALLO:
MUERTO:
CW-l :
CABALLO:
CW-l :
MATADOR:
CW-l :
CABALLO:
CW-l :
MATADOR:
CW-l :
MATADOR:
CW-l :

CABALLO:

He was there. I myself, gave him a ride to Home Depot.

Did you have yours, too?

And that girl started to work at La Fatima again?

Mine is all moldy, dude, but it works. l tried it the other day with BRUJITO.
Yes?

lt doesn’t matter how it looks, dude. l even erased the numbers, man.
Exactly, doggie.

l spent about four weeks, erasing the serial numbers that it has underneath . . .
where the trigger is.

l erased those too, homie.

l was scraping that shit off for about four weeks.

Yeah Ul.

Well, here, CHENTINO.

CHENTINO has all the women from those bars as his friends. There he is.
lt says CHAPIN?

No, not right now. There are no taxis. There aren’t any taxis right now.
Listen. ..

Your client’s face.

Yeah, it’s LA HAPPY

CHAPIN says he will give me the car?

Huh?

Ul, dude.

Yeah, look at that. I’m telling you.

l saw you in the car,
20

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 23 of 80

MATADOR:

CABALLO:

MATADOR:

CW-l:

ANIMAL:

CW-l:

CABALLO:

CW-l:

CABALLO:

CW-l:

ANIMAL:

CABALLO:

CW-l:

CABALLO:

ANIMAL:

CABALLO:

CW-l:

CABALLO:

CW-l:

CABALLO:

CW-l:

Yeah.

But was he drunk the day when he filled it up for you?

No, man; just now,

So, what’s going on ANIMAL? Are you ready now, for real?
Yes.

Right, almost all Of us are here. Ask the other guys what’s going on, understand?
Because . . .

No, l wanted to ask him but he didn’t say anything to me, you know.
Who?

So l kept quiet. This dudejust now.

But why? lf this is the. ..

No, that doggie is

lt’s bullshit, dog. Not yet, homie. Well, look, when it’s ajoke, be careful. When it
is. ..

That’s right, doggie.

When it’s serious, it’s a different thing, homie.

Yes, homie.

No man, it’s great. We’re all going to talk, doggie. All of us together, you know.

That’s right, all of us together and uh . . . And MUERTO, are you in agreement,
to see if we can collect something for this dude for. ..

How much?
About ten bucks each, dude, you know. To see what. ..
Where is this homie staying?

No, man, He was out on the street, man.

21

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 24 of 80

CABALLO:

CW-l:

CABALLO:

ANIMAL:

CABALLO:

ANIMAL:

CABALLO:

CW-l:

ANlMAL :

CW-l:

CABALLO:

ANIMAL:

CAB ALLO :

ANIMAL:

CABALLO:

ANIMAL:

CABALLO:

CW-l:

CAB ALLO :

ANIMAL:

CW-l:

CABALLO:

No way. l have money, dude. l have ten bucks here to give.

No, but we have to give it to him there.

No; not there. l don’t like it there, homie. We have to give the contribution to the
doggie here discreetly, dude. Those things homie. Otherwise there is a big fuss,
dude. Here you go, doggie.

All right.

So you can have a soda, doggie.

All right.

Here you go too, doggie. No, homie, grab it, homie.

Fuck. Hey, look, CHENTINO is watching you, man. Put it in there, dude.

Oh, here,

Oh, this. Fuck homeboy. That man. .. did you see how that dude is?

Put it away, homie.

Ul.

lt will be good for something, doggie.

All right, dog.

Look, homie.

Ul.

Sometimes we have, and sometimes we have. ..

Yes.

These homies have fed me sometimes because l didn’t even have . . . Ten bucks,
homie.

Right. Ul.
That’s true, manl

That’s life, understand?
22

Case 1:15-Cr-10338-FDS Document 2761-1

CW-l:

CABALLO:

ANIMAL:

CABALLO:

ANIMAL:

CABALLO:

ANIMAL:

CW-l:

CABALLO:

CW-l:

CABALLO:

ANIMAL:

CW-l:

CABALLO:

ANIMAL:

CABALLO:

CW-l:

ANIMAL:

CABALLO:

MUERTO:

CABALLO:

Filed 10/09/18 Page 25 of 80

Sometimes one does not know.
CABALLO from East Side.
Yeah.

Remember that.

Alright, then.

ln case you don’t see me again.
lt’s great, dog.

No.

Because, right now, we’re all together and we never know where we’ll be
tomorrow.

Don’t say that, homeboy.

No, no; serious shit, dude. Serious shit, One never know where you’ll end up,
homie.

That’s for sure.

No, yeah.

One can end up upside down in the middle ofthe night.
No, l know, but we are not going to do that.

Did you hear that?

How many years are you going to live, dude?

l’ve already lived the ones l was going to live, man,

Jehovah’s Witnesses say that they are not going to die, That the ones with the best
chance of staying here in this world are the babies.

What’s up... What’s up... Around the back or the front, dog... All right
then...Let’s go.

You can leave those here, man,
23

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 26 of 80

MUERTO:
CABALLO:
MUERTO:

CW-l:

UM:
ANIMAL:
CABALLO:
ANIMAL:

CABALLO:

CW-l:

CABALLO:

CW-l :
CABALLO:
ANIMAL:
CABALLO:
CW-l :
CABALLO:

CW-l:

CABALLO:

CW-l:

There are a lot of vultures there, l’m going put this other one there.

Huh?

Put that other one there.

Talk in there. You are the one that has to talk in there, you know? About what you
told me about that guy? So that you can ask for permission for the other guys, you
know? Because you, you have seen the things that the kids have done, especially
with you.

Motherfucker.

For David.

That dude. ..

David. ..

What he has to say is why he doesn’t hang around with the dudes, since he is a
between a rock and a hard place.

That’s right. Now, explain to them why he is not. Everything.

Because the dudes want to know is why someone would leave the Everetts if he
was solid with the Everetts?

Uh-huh. And explain

Because that’s something that goes on here, dog.
Yeah.

F rom the moment he you join, there is a problem.
That’s right.

lsn’t that true, MUERTO?

And the killing there, mention to him who you were with, and what was going on,
and why it happened, and. .. you know.

And how it happened, you know?

Yes.
24

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 27 of 80

CABALLO:
CW-l:

CABALLO:

MUERTO:

CW-l:

MATADOR:

CW-l:

MATADOR:

CW-l:

MATADOR:

CW-l:

MATADOR:

CW-l:

CABALLO:

CW-l:

MUERTO:

CW-l:

MUERTO:

CW-l:

And it’s also not that. ..
No, no.

lf you don’t want to explain too much, don’t do it, man, We know that we are
dogs here, understand?

Right.

But so that all the dudes see, you know, because there, that’s what l’m going to
tell you. I’m going to call out someone there that you’ll hear who l’m going take
the wind out of his sails, because l didn’t like what he said to me. You are going
to hear who are the bad influences of the. ..

lt’s not me, man,

No, no, no, homeboy.

We talk shit too, man.

What do you mean, homeboy? No, chucho.

Ul.

No, dude. There’s a homeboy around there that told me that this dude had brought
a lot of heat over here, that if . .. you’ll hear what I have to say, homeboy.

Yeah, but fuck, homie.

No way, man,

Well, since he’s nervous, he’s a humble guy, homie, but l am thinking, ifl have to
fucking fight CHENTINO. .. But l know that if I start running around the shop, he
won’t catch me and he will get tired.

l’ll get beaten up there, homeboy.

There is just a Ul, dude.

No way.

Whose is it then?

No, man; that’s not Rene’s car. lt’s so cold! What’s going on, homeboy? What’s
up?

25

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 28 of 80

UM:

CW-l:

What’s up?

Hanging around, dude. What’s up, dude? What is going on?

[Greetings and small talk]

CASPER:

MUERTO :

CASPER:

MUERTO:

CABALLO:

CASPER:

ANIMAL:

CASPER:

MUERTO:

CASPER:

MUERTO:

CASPER:

MUERTO:

CW-l:

MUERTO :

CASPER:

Hey, so look, how are things then? Are we going to jump this homie today or
what?

Well, that’s fine with me homie, l don’t know what the deal is with the other
dudes.

No, we’ve already heard that he’s hanging out with those guys.
That dude has a problem with me and we have to deal with it, too.
That’s right.

You know how it is with you, man, They are on the street looking for you with
everything, doggie. Do you agree?

Yes.

And the plan that we have for this homeboy once he’s in, so that the police does
not get him, we have to take care of this dude, homies. How are we going to do it?

Well, that’s why. ..

Do you have a place to stay right now?
That’s the same thing, we’re moving him.
Where to stay and everything?

That’s why we’re moving him however we can, dude. Also, several dudes don’t
want to give him a place to stay, dude. So then. ..

No.
Son ofa bitch, with this dude. ..

No, so you guys can’t say you don’t want to, homeboy, if we’re not sure about
what’s really going on in each guy’s house.

26

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 29 of 80

MUERTO:

CW-l:

MUERTO:
CASPER:

MUERTO:

CASPER:

CW-l :
MUERTO:
CASPER:
MUERTO:

LOBO:

CABALLO:

LOBO:

CASPER:

CABALLO:

CW-l:

LOBO:

CABALLO:

CASPER:

That’s what l’m saying. Many of the dudes don’t want him staying there
anymore. So, what we’re doing is moving the guy,

l’ve even paid for hotels for the dude and the man can tell you. Out of my own
pocket.

Yeah.

Fuck! That’s awesome, dog.

Yeah. So, right now we have him at a house over there, dude. lt’s been, he’s been
at a house for a month. He’s all set in that house for now, dude. The dude has a

room there and. ..

And what happened with the room. What about Chicon? What’s going on with
Chicon?

No one has moved, man.

No, they just talk and talk about that thing, doggies, and the thing is that. ..
lt’s not that we’re just talking, homie. Someone was in charge of doing that.
Chico, Chico was in charge of that thing, homie.

There is, there is a room right now for 500 fucking bucks. l don’t know if you
guys are in agreement

Where?

Because I know that girl. But l’d prefer not telling her that this homie is with the
Mara, you know?

Yes, but 500 bucks is expensive, son of a bitch,
No man, five hundred bucks is cheap, dude.
And where is it, dude?

Here in Chelsea, next to the clock.

And in Chelsea?

No, man, This dude has to go far away from there, dude.

27

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 30 of 80

CW-l:

CABALLO:

LOBO:
C“Lk
LOBO:
C“Lk
LOBO:
CASPER:
UMh
UM:
C“Lk
UNL
Uht
C“Lk
DUQUB

CASPER:

UM:
CASPER:
CW-l:

CASPER:

And who is it with, man?

No but, hey, dude, but five hundred bucks is cheap because it’s expensive right
now.

lt’s with a lady that l know, a friend of mine who is going to kick out an old guy,
Wasn’t it the Honduran woman?

No, no homie.

Because she hangs around with the rival gangs.

She is a friend of mine.

No, homie, forget about the Ul.

lt’s fucking tough there in Chelsea.

l think that it has to be like . . . towards Ul.

Everett?

Send him over here, towards, towards Medford, homie.
No, not to Medford, but over here, towards. ..

Towards Everett or Revere.

But towards Revere, it’s, you are talking

The, the, the thing right now, dudes, the move is that this homeboy should not be
in Mara’s turf. We’re in Lynn, Chelsea, East Boston.

ln Lynn would be possible.

Uh, in Somerville, Everett.

Somerville is too hot.

Those are the territories that this dude, can’t be in, dude. So then, we are going to,
we are going to send this dude to the clique, homeboy. We have to hide him so

that he won’t be arrested, dude. Right now, it is our priority that this dude not be
locked up, dude.

28

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 31 of 80

UM:

VAGO:

UM:

VAGO:

CASPER:

UM:

CASPER:

VAGO:

CASPER:

CABALLO:

ANIMAL:

CABALLO:

ANIMAL:

CABALLO:

ANIMAL:

CABALLO:

ANIMAL:

CABALLO:

And that doesn’t count the cost of all those that are locked up there because of the
homeboy.

They Ul one of our homies, dude. They picked him up, you know?

They were asking for the homeboy.

They were asking for this dude, because the guys from Everett . . . Supposedly the
guys from Everett were the ones that did that hit there, understand? lt was because
of the Everetts that they picked up our dudes, you know, that are walking with us,
dude. One of them is in jail, the other ran away, dude. And the dude called me and

he, he told me everything; what was going on, why they had been arrested.

That’s the bad thing. Look, that’s what l’m referring to; talking when one kills.
Look, that’s what l’m referring to.

One can say

Right now, right now, let’S see what we’re going to do, dudes. They’re going to
get those two guys and they’re going to try to put the blame on them. They know
that he’s not the one . . . They know that they aren’t the ones who did it. They
know that you did it, homie. What they’re doing right now is trying to see if these
dudes will turn into snitches, homie.

Uh-huh.

They are going to tell them, “Give us this guy, and if not, you’re going to be
blamed for it.” l guarantee that’s what they are talking about right now,

And how do they know?

No, and the dude called me Ul, you know, doggie. But the dude called me
Do they know the nickname that ANIMAL has now?

l started to leave, doggie, but the dude UI me.

He knows, he knows you by ANIMAL?

Yes. No, the dude from my Side that ran away called me, dude.

Hey, who do they ask for, seriously?

Seriously, dude, because ofthe killing...

No, but why, for whom?
29

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 32 of 80

ANIMAL: Well, supposedly because the guys...
CABALLO: No, but what name, what nickname did they call you?

ANIMAL: No, what the dudes are asking about, you know? Because of the thing that they
did in East Boston that the Everetts supposedly did.

CASPER: Don’t you have a nickname?

UM: What did they tell Ul

ANIMAL: Ul the Everetts

UM: Santos Perez?

ANIMAL: Uh-huh, no look, supposedly. ..

CASPER: Santos Perez, is that your name?

CW-l: No, dude.

ANIMAL: No.

CABALLO: Ul called Ul.

CASPER: Ah, well, then they’re lost, homie.

ANIMAL: Yeah.

CASPER: That’s fine, that’s fine.

ANIMAL: Yes, but . . . l don’t know what the deal is because to me . . . At first, they were
coming down on me, right, but it was just for some other shit that we had done
with CRAZY and CHUCHO. Yeah, but it’s the culeros that are also after me

about that thing, because they already know what’s going on.

CW-l: But the police doesn’t know. The police doesn’t know because they would have
already put it on the news.

ANIMAL: There were two guys that went into a laundromat. There were two of them and
when they saw me, they ran out, but one of them went into a laundromat, right.

Yes, and since another guy was looking at me, l ran away.

CASPER: But if those fuckers know that you went to the police, those dudes

30

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 33 of 80

CW-l:

CASPER:

CW-l:

CASPER:

CW-l:

CASPER:

UM:

CW-l:

CASPER:

CW-l:

VAGO:

CASPER:

MUERTO:

CASPER:

VAGO:

CASPER:

MUERTO:

CASPER:

l\/IU ERTO:

No way, man. The police would have already put his photo in the newspaper.

Oh, well, then the asshole has not been able...

No.

To identify him in the photo that the police have.

No, no, no. Listen, dudes. Yeah because they would’ve already turned him over to
the police. Hey, just like with VIDA LOCA. By the third day, wasn’t he already
in the. ..

That’s right.

ln the newspaper and all that shit.

ln the newspaper and everything, man.

The culeros will snitch on you. Right now, they are really high, dude. The deal is
that . . . about that thing with the two, homies.

lt’s not about disappearing but rather, not go out into the streets too much.

Ul the dude that escaped called me, you know, and he was asking me if the son of
a bitch that they caught, you know? That they were asking him about the incident
that had happened in East Boston, you know, but supposedly, the Everetts had
given it to him, you know? The dude...

Well, dude, let them say that.

Ul.

That’s better for us, and that is good for you tO.o, dude.

And the dude was telling me, you know? To warn the homies, you know, to take
care of themselves because that’s the trail they are pursuing, you know.

No, man, that’s great...
Yeah, the other guy that took off is still around there, dude.
As long as the police say that Everetts did it, dude, that’s even better, dude.

Yeah, they only picked up one, dude. But, he did tell me to tell those homies.

31

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 34 of 80

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 35 of 80

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 36 of 80

CASPER:

CW-l:

CASPER:

MUERTO:

CW-l:

BRUJO:

PLAYER:

CW-l:

PLAYER:

CW-l:

PLAYER:

CASPER:

CABALLO:

Ul\/l:

CW-l:

LOBO:

PLAYER:

BRUJO:

UM:

UM:

UM:

That’s no problem. Give me a cigarette.

l don’t have any. l only have this one.

Don’t you have one?

They told me to Ul that this homeboy, understand? lf he isn’t careful
And BRUJO, do you have any cigarettes?

Ul.

lf he could hide him for at least a month, in that house that would be awesome.
Well right now, he is already over there in that house, you know.

We have to look for a room.

We have to look for another room for next month, man.

We can get a room between all of us, dude.

That’s what’s fucked up about it, homie.

The thing is that we all have to be on the lookout. ..

We don’t have anything. You can go look around because you are driving a taxi;
and l will be looking around too.

No, man. l have already looked around there but. .. l found one, but they wanted a
deposit.

Let’s go tomorrow if you want, and we’ll do it tomorrow. l don’t work tomorrow.

Well, that’s the thing, we have to look into it to get the money together, homie.
BRUJO.

l can give you the money, depending on what No, on Tuesday, l’ll give you what
l am supposed to give, dude. Plus, what l owe for the Ul.

How much would each have to give?
Or even if we don’t watch after him, just as long as we give the money, homie.

PLAYER, how much, more or less, would we have to give to, more or less, get a
room for this dude?

32

Case 1:15-Cr-10338-FDS Document2761-1 Filed 10/09/18

CASPER:
MUERTO:
PLAYER:
CASPER:
UM:

CASPER:

CABALLO:

CASPER:

CW-l:

ANIMAL:

BRUJO:

CABALLO:

ANIMAL:

CABALLO:

ANIMAL:

MUERTO:

ANIMAL:

MUERTO:

ANIMAL:

MUERTO:

Page 37 of 80

lt’s that it’s notjust us, it’s everybody because, ..

That’s right. All of us.

l think that the entire clique Ul.

UI PLAYER. ..

The entire clique.

The problem, the problem is this, look...

Whoever does not want to give, no problem.

l’m going to give you something to get a room for this homeboy for 500 bucks

I’m calculating that we all have to meet twice a week, man, The thing is like this
dude. This homie has to learn how to look after himself. He has to find a job.

3

Exactly.
Well, yeah.

Well, we have to help him to find ajob.

Look, dude.

That’s right, that’s what l’m doing right now, I’m trying to find work.

There is a place by Ul where you can get a job as a dishwasher, if you want to
stay and make twelve bucks an hour, dude.

Twelve bucks is good.

Ul how good are you with garbage, bro?

Huh?

How good are you with garbage?

Ul.

Hey, look Ul I am quite relaxed here, dude. That dude has killed, dude, and look,
that homie is taking it easy. A lot of people found out about the murder that guy

did, dude, and l ran into the guy walking around, with his glasses here, and he’s
all calm, dude, and he is working, man,

33

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 38 of 80

ANIMAL:

MUERTO:

CABALLO:

MUERTO:

CABALLO:

ANIMAL:

CABALLO:

ANIMAL:

CABALLO:

CASPER:
PLAYER:
ANIMAL:
PLAYER:

CASPER:

UM:

Yeah.

Many of you, since l started talking, know whom l’m talking about. So, you can
do the same thing, too.

The good thing is that. .. Look homie, l work with civilians, dude. We all work
with civilians, dude, and right there, where the civilians are. lf a son of a bitch
fucks up, l will break his trap, and l have already done so. l was fired from good
jobs, homie. What l am trying to tell you is that you can’t be telling civilians that
you go here or there, dude, you know? You know what you are, homie, and we all
know what we are.

Without any problems; always, without any problems.

But it’s not fair that if they are going to talk shit Ul. lf they get involved in my
business, l’m going to break them, man. Let that be clear, dude. Look, that’s why
l’ve lost somejobs, homie. l’ve lost threejobs already, homie, for the same thing,
l’ve had to leave, homie. Because l’m hearing shit about the thing that was
fucking tough, dude, when he was caught with me, okay. Even the dude had to go
to hell, you know?

Alright.

But because of that same shit, dude, we have to be saying that we aren’t, because
we know what we are here, right? Whatever problem we have, if you have
problems and you belong to the Side, then we are all going to have the same
problem that you have.

Yeah.

But let that be clear, homie, understand?

You always deny it to police. Tell them that you don’t know.

Bullshit the fucking police, dude; you are nothing.

Ul.

And it’s even better if they don’t ask you. lf they don’t ask you, that’s even better.

Hey homie, do what they do what they do on the news, “Keep running away from
the violence in El Salvador.” Ul.

Uh-huh.

34

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 39 of 80

CASPER:

ANIMAL:

CABALLO:

CASPER:
CW-l:

PLAYER:

UM:

CASPER:
PLAYER:

CASPER:

MUERTO:

DUQUE:

CASPER:

LOBO:

CW-l:

LOBO:

CW-l:

“And how are you going to get to Boston?” You have to play low with those
motherfuckers, man.

Yeah, man,

The police are like that, kid, but. ..

You already know more or less, what they’re going to . . .
Here.

NO, because the homie says that he has gone through a lot of shit and Ul, right?
What I’m trying to tell you is...

No, but . . . what the dude is asking right now about that guy, don’t let that get
you down, homie. Because that’s. ..

Because that’s the shit that’s going on right now, dog.

You have to think about that.

This is what’s happening right now, look, How the fuck, homie, and how are we
going to watch him closely. We’re watching him closely UI we are not going to
see him a lot?

Like l said, just like the way you are dressed now is okay.

Very calm, homie, humble, understand? Shit, no one is not going to know shit,
homie. Take it easy.

Remember that we are old, homie, and we’re not out on the streets as much as
before, dude. And for us to be watching this homie, it also costs a shitload for us
to watch him, too.

Right, but how UI?

lt doesn’t cost a shitload, homie, when one wants to. Shit, l see him almost every
day because . . . understand? When l realize he doesn’t have food, l call him right
away and l tell him, “Hey homie, get ready, I’m coming to pick you up and l’m
going to take you some food.” Very quickly, ll take him back to the house. Or, if
he’s there all day, l take him for a spin at night.

That’s when you should call one of the dudes.

Yeah.

35

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 40 of 80

CASPER:

CW-l :
UM:
CW-l :
CASPER:
PLAYER:
CASPER:
ANIMAL:

PLAYER:

CW-l:

ANIMAL :

CASPER:
ANIMAL:
CASPER:
PLAYER:

CW-l:

CABALLO:

MUERTO:

CW-l:

MUERTO:

PLAYER:

Another thing, dude, when they ask you about the names of the Everetts, you
should say...

They won’t answer.

l can take him to eat.

Well Ul hold on.

When you have to talk with the homeboys from the Mara. ..
l did it alone, for me.

l did it because l don’t like those culeros.

Yeah.

l didn’t do it for Everett. You are no longer going to be saying that you did it for
Ul, dude

But, ..

No, that’s what l told him yesterday. That is what l told SECO because SECO
wanted to blame me for everything, saying all that stuff. l told that homie about
the whole thing, very clearly. l told him that, yes, in fact, l was by myself, no one
was with me. Just. ..

That dude is foul-mouthed, that guy, SECO.

That homie, David, was the only one that was there Ul.

Who is that dude?

l don’t know him, homeboy.

He’s a skinny guy, a new guy.

l don’t know him either.

What clique is the dude from?

F rom the Everetts.

He’s the one that, that has the, the car now.

Does that homie is from East Side or not‘?
36

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 41 of 80

CASPER:

PLAYER:

UM:

MUERTO:

CW-l:

MUERTO:

CW-l:

MUERTO:

CW-l:

MUERTO:

CW-l:
PLAYER:
CW-l:
UM:
PLAYER:
CW-l:
PLAYER:
CW-l:
PLAYER:
CW-l :

DUQUE:

PELON, Ul?

No, he said that they had a problem, They told MUERTO that they had a problem
with us.

The guy told me.

He told this homie. What did he tell you Ul? Dude?

Huh?

ls this dude already East Side or not?

lt’s that this guy has been running with us for a while. There are four kids with, ..
No but, does he want to jump in with the East Side and the Mara?

Exactly, dude. Yeah, he had been running around for a little while with the
Everetts. And shit, he has already done three killings, dude.

And does he say that he wants to do jump in or not?
Of course, doggie. He is. ..

He says that he does want to?

Ask him,

That he wants to?

Ul tell me if he wants to jump in or not, you know?
Ask him.

Ul.

No, ask him.

All right, what is he called?

ANIMAL.

Hey uh, ANIMAL. Do you want to settle down here to be a homie for the East
Siders?

37

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 42 of 80

ANIMAL:

PLAYER:

ANIMAL:

CABALLO:

BRUJO:

CABALLO:

ANIMAL:

CW-l:

ANIMAL:

PLAYER:

CW-l:

CABALLO:

UM:

CW-l:

CASPER:

PLAYER:

CW-l:

CASPER:

CW-l:

PLAYER:

CW-l:

Yes, yes, that’s why l came to this clique, doggie. l want to be here.
You feel the East Sides clique?

Yes, yes. That’s why l came over here,

Great, because he is looking for some homies, man.

Ul.

That dude is looking for some homies, dude. That dude'talks shit.
No, l talked to him yesterday

Look, man, that’s the number for SECO.

l was going to Ul

He says that he has a problem with the East Sides.

That’s what he said.

All right, which is it? Where is it, homey? 501-1310.

LOBO has some around Ul.

No, the one, dude, because he already did . . . with this homie, he did another one,
just now. He’s called SECO, SECO.

So then how are we going to. ..

So?

One

So, what about the house for this homie, dude?

No, for now there is a house for this month.

F or next month is what we have to

For the following month not, because l, uh. . . Uh, l got him a house there that . . .
a friend of the . . . over there . . . an acquaintance moved frorn there and he left
that room with a deposit and l told him to transfer it over to me. l told him that l

was going to give him about 100 bucks, but we still haven’t talked about that.
Because he told me, “No, l’ll help you out.”

38

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 43 of 80

CHECHA:

CW-l:

CABALLO:

CW-l:

CABALLO:

PLAYER:

CABALLO:

CW-l:

TIGRE:

CW-l:

TIGRE:

CW-l:

PLAYER:

CW-l:

CABALLO:

CW-l:

CABALLO:

But did we give it to him, PELON?

No, l did not. l told him, “l’m going to help you out with something,”` but l didn’t
tell him, understand? l thought about giving him about 100 bucks because l was
even paying for a hotel. This dude knows and MUERTO here knows, too.

Uh-huh.

Because sometimes he would call me from the street, and he’d tell me,
“CHENTINO didn’t answer me, l can’t be at CHENTINO’s anymore.” And he’d
tell me, “l’m out here on the street, standing around with this fucking cold,

homie.”

That’s what l’m saying about this thing, dude. that one can be broke but there are
some homies who need it more than one, dude.

Yeah.

Because the cold is damn tough right now. Let’s be clear about that, dog.

What time did you call me that day, dude? Around midnight, man? You were
freezing, man, He was in a store around there, by MacDonald’s. He was sitting in
there for about two hours because he didn’t know where to go. What did I tell
you, “Come on, l’m going to pay for you to stay at a roach motel and you can go
get Some sleep.” Then, l had him around Route 1 for about three days, man,
Yeah.

You know.

That’s good, homie.

No, no, you know.

The dude is grateful

Dude, the thing is thatl was broke like that once When l got here l didn’t know
anyone, doggie.

Yeah, we have all been broke at one time but with, ..
But l wasn’t broke like that because l had money, dude.

But right now we do have, understand lt’s that we don’t always realize that.

39

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 44 of 80

MUERTO:
CW-l :
MUERTO:

CABALLO:

DUQUE:
MATADOR:
CASPER:
CABALLO:
CW-l:
DUQUE:
CABALLO:
CW-l:
DUQUE:
CW-l:

CABALLO:

ANIMAL:
CABALLO:
ANIMAL:
CABALLO:

CW-l:

No man, that’s good, the support is good.
And now, l have found the room, man, but for. ..
Yeah, that’s good.

Decide if you want to jump in the doggie or if you only want him to hang out with
us, dudes.

Hey, is it your decision or what?

CABALLO.

The dude already has an in, dude. l am preparing that.

Huh? The homeboy did that thing with me.

Hold on.

Twice in a short time, he did it with me and that is some serious shit, man
That’s why l’m telling you, look,

He did another one with Tigre, doggie.

Well then, let him in.

No, but hold on, dog.

You can go say that the Ul looks awesome and everything, yes to the Mara, ri ght?
But the thing is that we have to see how we work, dog.

Yes.

Because if we don’t work, we’re going to be screwed, understand?

Yeah, l know what it is.

Because we have to work, dog.

l have something that l want to say here. Like a . . . There’s a problem here that l
want for CHECHA to clear up here. About three days ago, he told me about
something that l didn’t like . . . He told me that he was going to, that if they

closed down this shop, that he was going to hang this kid by the neck; and he’s
the type of guy that. ..

40

Case 1:15-Cr-10338-FDS Document2761-1 Filed 10/09/18

BRUJO:
CW-l:
BRUJO:
CW-l:
BRUJO:
CW-l:

BRUJO:

MUERTO:

CW-l:

BRUJO:

CW-l:

BRUJO:

CW-l:

CHECHA:

CW-l:

PLAYER:

CW-l:

Page 45 of 80

And Chico said that to me, too.

Okayl hold on, homeboy. He told...

They told that to me, too.

Hold on, homeboy.

They told me. ..

l’m going to talk first, homeboy, hold on.

CHECHA, vCHECHA, what the fuck does it matter l

Let someone speak.

Hold on.

l know that he is bullshitting over there, dude.

Hold on homeboy, l’m going to speak first. You told me, and you told me in front
of . . . of the one that used to hang around with you guys. l don’t know who it was
that you hung out with, He said that MUERTO knows him. That he’s ready to
take on that homeboy.

Well, Ul fucking because of the homeboys is that they’ll close up this shit on us.
Hold on, hold on, homeboy. So then, what he told me was. .. He said to me,
“Look, homeboy, you’ve brought those little kids over there to the shop, l don’t
know what those young kids have done and they’ve brought heat to the shop, lf
they close down my shop,” he said, “I’m going to going to kill that ANIMAL.” l
told him, “Homeboy, before you touch that kid, you’re going to go through me.
You’ll have to touch me first.” l told him, “Respectfully, if you believe that, that’s
awesome.” So, he told me, “That kid has a fever. He was with the Everetts and l
don’t know what the hell.” He said, “And now, he’s here with us,” he said, “l
don’t know what’s going on.” He said, “When l see a little kid, l get out of the
way” and l don’t know what other shit he said,

That’s what we said at the meeting.

No, no, no, no, no; we didn’t say. You said that to me at Las Divas, dude.

No, we didn’t say that.

You then said that. ..

41

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 46 of 80

PLAYER:
CASPER:
CW-l:
DUQUE:
CW-l:
DUQUE:

CASPER:

DUQUE:

CASPER:
PLAYER:
CASPER:

CW-l:

CHECHA:

CW-l:

BRUJO`:

CHECHA:

BRUJO:

CHECHA:

BRUJO:

CHECHA:

We didn’t say that.

Let me tell you something, homey. ..
There was an investigation, hold on.
lf we do the chequeo.

Yes.

Chequeo.

There are times one’s nerves are a little scrambled and what we say comes out
wrong. ..

l say let’s do the chequeo.

And we have to be careful what we say.

Yeah.

You know.

No, and something else he said, is that these dudes had gone to kill some civilians.

What l told you and as l explained it to you, what l don’t want is for the homies to
go to jail.

No, later on you came up with that story when you saw that l was mad.

l’m going to tell you the event as I was told. l was told, “Hey, why the fuck are
you heating up another homeboy? Another flare up and we’re going to smash
ANlMAL’s face.” “And why are you going to smash ANIMAL’s face?”

That l said that?

Do you think that you’re doing things with me?

lfl said that. ..

You’re just heating up the homeboys . . . lf l’m with, with the homeboy it’s
because l also have my balls in the Ul.

Who said that l said all that?

42

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 47 of 80

CW-l:

CHECHA:

CW-l:

CASPER:

CHECHA:

CW-l:

cAsPER:
MUERTO:
DUQUE:
CHECHA:
CASPER:

CW-l:

CASPER:

CABALLO:

CASPER:

CW-l:

No, you said that you were going to attack him and that you were going to and
you said, “l’m like a Pitbull, once l bite, l don’t let go.” lt made me laugh and l
told you, “Dude, if you’re going to go after that kid, you’re going to have to go
over me first,” l told you. And then you got quiet there, you saw that l started to
get mad, and then, you came up with the story, “Well, if a homeboy goes down,
that kid could snitch.” That if one of the older homeboys who is solid, like the one
that was there with you and that this guy is ready to jump in, l don’t know who
that guy was, the one that said that MUERTO knew him. That that guy will go
with you to the death, that. ..

l don’t remember having said that to you.

Oh no? You don’t remember, right? That is awesome, how sometimes we don’t
remember, dude. I would have liked to...

Like l say, homie. There are times when one says things that one is not supposed
to say when one has been drinking, dude. Be careful with that. Don’t go around
talking about things like that, homie.

That’s fine, then,

No, homeboy, l don’t; understand l said, l even told you, “l am going to call you
out over there,” and that l was going to tell you in front of the homies because, to
me, ..

And don’t think that this has only happened to you because. ..

lt has happened to all of us.

lt has happened to all of us, dude.

Everyone make mistakes sometimes, dude.

The thing is that sometimes we’re upset and we start to talk about Ul

Yes, but sometimes one can’t talk like that either, understand? You have to be
sure.

That they tell it to you in your face is not good, you know.
That’s right.
But it’s not such a big deal for us to give you a good beating for it.

No.

43

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 48 of 80

CASPER:

MUERTO:

CASPER:

CW-l:

CASPER:

CW-l:

CASPER:

CW-l:

CHECHA:

CW-l:

CHECHA:

CASPER:

CHECHA:

CASPER:

CHECHA:

CASPER:

CW-l:

BRUJO:

But, let’s just be calm, homie. There is a way to resolve it.
Talking about it, one understands, dude.

lt’s just that sometimes we express ourselves badly, dude, when we have had two
or three drinks.

That’s true.

Take it easy, homie.

That is true, That is true because that homie was drunk and that’s when he told
me, uh, “You brought him and you have to resolve this shit.” l told him, “Look,
homie, the kid is there with us and. . .”

No, homie. But it’s awesome that you let him know Ul

Yes, l told him, l said, “Whether you’re drunk or however you are, I’m going to
tell you in front of the homeboys. l’m not going to disrespect you.” The only
thing l did say to him was that if he touched him, he would have to touch me.
That’s what l said to you. l don’t know if l disrespected you there but l said it you
clearly.

No. You did it the right way, dude.

No, dude, because

That’s right, you did what you had to do, understand? Not to

That’s fine, homie, but, it’s not that it’s a big deal

You did it the right way.

lt’s just that we have to be careful about how we express ourselves after a few
drinks.

Uh-huh. Yes.

The homie wasn’t doing anything wrong. He was doing the things that he’s
supposed to be doing, dog. You know?

Because l don’t think that the guys you hit were civilians. Those culeros, l’ve
seen those culeros on Facebook, dude.

No, but those sons of bitches were Ul

44

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 49 of 80

MUERTO:

BRUJO:

CW-l:

BRUJO:

CW-l:

PLAYER:

BRUJO:

CHECHA:

PLAYER:

UM:

LOBO:

CW-l:

PLAYER:

UM:

PLAYER:

PLAYER:

CASPER:

PLAYER:

CASPER:

And another thing with Facebook, dudes. Don’t put things on Facebook, either,
homie. You know?

Hey, when l said La Mara. The son of a bitch took off, and I slapped him and
after that l hit him in the mouth, So why did he run when l mentioned the Mara?

Because he knew, man.

Why did he run?

l know that they were not culeros.

Then why did he run?

The culero was scared stiff.

Yes.

No, well, that’s too bad No, and around that area there are a bunch of culeros.

And a little while later, about ten or fifteen minutes later, homeboy, we went
again.

Another thing, homie. The things that happen here, homie, it’s not good for this to
get out to other cliques.

To another clique? NO way, dude.
And then why don’t they give Ul, dude. This is the first time that this happened
No, l know it is a problem, homeboy.

This is the first time that, this has happened, dude, that we have someone from
another clique here with us.

What then, CASPER?

' No well, the dude is firm there, homey.

Well, then do it.

What l am doing right now, what we are doing is right. lt’s not good, you know,
to getjumped in alone. He knows he is going through the same situations as us,
and at the same time, we have to see how we’re going to help him out, dude,
because we have to take care of that homie.

45

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 50 of 80

LOBO:

CW-l:

MUERTO:

PLAYER:

UM:

CASPER:

CW-l:

CABALLO:

UM:

LOBO:

CABALLO:

LOBO:
DUQUE:

PLAYER:

CABALLO:

CW-l:

UM:

CABALLO:

DUQUE:

CW-l:

CABALLO:

All of us are also aware of what’s going on.
What you’re saying is fine, Lobo. We have to find a room.
That, too.

We have to be careful, homie, because it is important because the forty bucks, that
we got together the other day we were here, was sent to El Salvador.

Uh-huh.

Yeah, but, it’s going to be very difficult for us to be give500 bucks for this dude’s
rent.

No, no, no, not 500 dollars. That’sjust to get started, understand? Just while he...
because we also have to think about the move.

Alright, Ul work, dog.
That’s right.

Look, if CABALLO doesn’t take you there, to wherel he’s working at, l’m going
to try to get you into where l work, where l took DUQUE.

Alright. Go for it,

That’s true. This dude. ..

Where you took me, where he took me.

Well, he did take DUQUE, homie.

lam going to try. l mean, l’m going to try.

Right. Try. Well, trying is one thing...

I’m not, not uh . ..

You’ll see the money there too, homie.

I’m not saying l’m going to get you in. I’m telling you that l’m going to try.
Only try.

Don’t tell the civilians anything and don’t give them your nickname either.
46

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 51 of 80

ANIMAL:

CABALLO:

UM:

CABALLO:

CABALLO:

PLAYER:

CABALLO:

PLAYER:

DUQUE:

CABALLO:

LOBO:

CABALLO:

LOBO:

PLAYER:

CABALLO:

PLAYER:

CABALLO:

PLAYER:

CABALLO:

CASPER:

PLAYER:

CABALLO:

Ul.
Give another name, homie, hey, give another nam'e.
Ul.
Like for example; if this homie gets you work there.
Give another name, homie. Hey, give another name.

Hey, this guy knows. Ask DUQUE who over there knows that l’m with the Mara?
No one, homie. l told this homie

Well, that’s right.

The first thing l told this guy,

“What’s your name?” l said, “Hey, Casimiro?” Yeah.
Chepe.

Casimiro.

MALA FE’s brother also works there.

Ul.

Hey, he’s another. ..

Hey, no bullshit, homie.

Now, now, now that we’ve touched on that, man.
That Ul works there or whatever, homie.

CASPER! Since we touched on that, dude, that homie wants to hang with us.

You’re going to be all set, though. You’re going to be alright, though. They are
going to be fine, homie

Who?
Ul MALA FE’s brother.

For real, you know.
47

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 52 of 80

PLAYER:

CW-l:

CASPER:

CABALLO:

UM:

LOBO:

CABALLO:

UM:

PLAYER:

CABALLO:

PLAYER:

CW-l :
PLAYER:

MUERTO:

CABALLO:

CASPER:

UM:

PLAYER:

CABALLO:

PLAYER:

MUERTO:

Ul.

He was with the TLS.

Yeahl but any way you look at it, MALA FE doesn’t want him to.

Oh, that’s right, huh. Miguel, homie?

Miguel?

He doesn’t even want him to be jumped in to the Everetts.

Yeah.

l don’t know about that homie, but that homie says that for a while now, ..
Look, the, the thing is that, that. ..

That the dude Ul.

They want everything. Fuck, they want it all, homie. The deal is that they need to
be. ..

They need to be in on the deal.

Ul

The, the dude.

Ul

Ul

The dude, what the dude wants is to walk, homeboy.
Now, if he wants to, he needs to start to give his own Ul.
That’ s right, but understand . .

You can’t say no to him. l can tell my brother. “Hey, homie, l don’t want you to
join the Mara.”

But dude. lf MALA FE says that he doesn’t want him or whatever, we also have
to respect the homie’s decision, understand?

48

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 53 of 80

PLAYER:

DUQUE:

PLAYER:

CABALLO:

DUQUE:
CASPER:
CW- l:
CASPER:
CW- l:

CASPER:

CW-l :
CASPER:
Ul\/l:
DUQUE:
CW-l :
PLAYER:
CW-l:
BRUJO:
CW-l :
CASPER:
DUQUE:

CW-l:

But if the homie likes it, he’s going to look for a way to join the Mara. And l can’t
do anything about it, dude

You know?

That’s right, but the homie has a lot of problems Look, from what l have seen,
the. ..

Hey, homie, but if MALA FE says no, we also have to respect the
Hey, dogv If MALA FE isn’t Ul all the ones from here

Yes, man, But Ul.

The. ..

The guy wants to hang out with the homies.

Let the dude come over.

He wants to come out. l told him that l was going to introduce him to you, to
MUERTO and CASPER.

Exactly.

But these dudes don’t want me to, dude.

From what l’ve seen of the kid, he has problems.
Yeah, l don’t agree, whatever, understand?
That’s why, dude?

Because he is too Ul, dude.

Exactly, dude.

lf the brother wants what’s best for the brother. ..
No, doggie, doggie, doggie.

Bring him over here, homie, and once we look at him
That’s right.

That’s right.
49

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 54 of 80

DUQUE:
CW-l :
DUQUE:
PLAYER:
BRUJO:
DUQUE:
UM:
DUQUE:
LOBO:
UM:
LOBO:
UM:
LOBO:
CW-l :

BRUJO:

CABALLO:

LOBO:

UM:

LOBO:

CW-l:

BRUJO:

CASPER:

LOBO:

lf he wants to and really wants to, well that’s fine, Later on. ..
Another. ..

We will also see.

That’s what l am saying.

So, are we going to get a guy just because he wants to be with us?
Uh-huh.

Ul.

Also, it’s...

We have Ul many.

lt’s not because of that.

Many.

lt’s just that the kid. ..

And now why are we Ul.

No.

No, man.

Hey, Lobo.

Uh, hey, this guy . . . Ul this homie.

Ul called the Ul.

And he can go in on that deal with me, too.

Yeah, that’s great.

Hey, let’s get a dude now because hey, we are going to get to another bar.
No, several.

lf a son of a bitch is looking for me Ul.
50

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 55 of 80

CASPER:

UM:

CASPER:

BRUJO:

MUERTO:

CW-l:

LOBO:

CABALLO:

LOBO:

CABALLO:

LOBO:

UM:

LOBO:

CW-l:

LOBO:

UM:

CASPER:

LOBO:

CASPER:

LOBO:

Several stages. He has to go through several. ..

No, man.

Several phases so that we can Ul.

Ul that’s what l’m saying.

lt’s like this dude, look, How can this dude snitch on someone else, if he’s got
that problem on him, Whereas, another guy who is just drunk and doing things
like that. ..

That’s right.

They are here all the fucking time only because, . .they are here all the fucking
time, they are here all the fucking time just because they are at the bars, treating
you. ~

Hmm.

“Let’s go to the Side now.”

Yeah.

No, man. Let them come and kill. Let them come and feel the pressure.

For them to Ul with the chavalas, dude.

They need to stick the knife in.

Yeah, man.

To stick the knife in and see what happens.

That’s right.

Let me tell you something

There you can see who has balls!

About the clique, the East Side clique, homie.

lf you have love for the barrio, you will show your balls there.

51

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 56 of 80

DUQUE:
CW-l:
CASPER:
LOBO:

CASPER:

CABALLO:

CW-l:

CABALLO:

LOBO:

CABALLO:

CW-l:

CABALLO:

CW-l:

PLAYER:

BRUJO:

CW-l:

MUERTO :

BRUJO:

ANIMAL :

BRUJO:

CW-l:

That’s where you can tell.

lt’s there that you can see that, when they’re in a tight spot. lf not, you don’t.
As far as l am concerned, we are all okay and the ones that aren’t it’s because. ..
Ul

Because of serious situations that they had to live through, dude, and they cannot
be here but they should, you know?

And any other homie who has an issue with someone should come and say it,
homie.

That’s right. He shouldn’t go behind our back.
That’s right. He shouldn’t be talking shit behind our backs.
That’s all you need to know, homie.

To me, if there’s a dog here, l’ll be like, “Here, dude. wherever you want. Come
and suck it, it’s no problem.”

That’s right, doggie... Hey, another thing, homie . . . Hey, BRUJO.
Ul the deal is that Ul.

The kids who are with these guys are . . . good, man.

Ul homie, the Ul who, who do Ul whatever

What Ul has?

Ask, hold on, hold on, homeboy.

Ul.

The sale of Macho with Pavo; when we cannot Ul the kid.

Yeah.

He got off and he waited for us there, in the van, and we all went in, and when we
left to do that other fucking thing there the other fucking thing there.

And the day that you did it with, with TIGRE. Didn’t they say that he was the one
that stabbed him, too? And he stabbed him, that son of a bitch! Both stabbed

52

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 57 of 80

ANIMAL:

CASPER:

DUQUE:

CASPER:

DUQUE:

CASPER:

PLAYER:

UM:

DUQUE:

PLAYER:

DUQUE:
BRUJO:
CW-l :
DUQUE:
CASPER:

CW-l:

PLAYER:

CASPER:

DUQUE:

PLAYER:

No, Ul.

No, look, I’m going to tell you something, homie. We need the new generation of
the East Side, homie. And thanks to the wisdom that we have gained over the
years, homie, we have to pass it along, dude, so that the new East Side clique can
come and not, not think badly that we’re going to fuck them over because shit, we
are Maras; and the fuckers here will fuck it up. We’re always Ul.

The clique has to continue to grow.

Ul.

The clique has to continue to grow.

But what l’m trying to say is that you guys are going to be the next generation
Fuck! Here, the majority of us here, in five years we will be over 40. ln another
five, we’ll be 45 until Ul.

Ul the deal with the clique, homie.

Yeah.

Hey, it needs to keep growing, homie.

Let’s be clear on that.

l’m almost 40, homie. Let the clique continue to grow, homie.

You are an old goat.

Old goat, right?

What the fuck? We’re still here, you know, dude? That’s no bullshit.

There’s going to be a time when. ..

Those little kids were. ..

CASPER!

Seriously, everything will end up in the hands of the new generation.

That’s true, homie.

CASPER! CASPER
53

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 58 of 80

CASPER:

PLAYER:

BRUJO:
DUQUB

BRUJO:

DUQUE:
BRUJO:
DUQUE:
UM:

CASPER:

ANIMAL:

CASPER:

CW-1 z
DUQUE:

CASPER:

DUQUE:

CASPER:

Who will make it easier.

That’s why l’m telling you. The deal with that homeboys, they don’t drop the, the,
the line, understand?

Ul throw signs for our gang, look because our Ul.

No, no, no, man. Ul.

The one that is with me, What did he say to me? “God willing, homie, they won’t
arrest me or kill me for being with you out on the streets. l’ll fucking go out on
the streets with you.” And we did it, we did it the right way Ul.

And it’s going to be done, dude.

And there it is.

One way or the other, whatever, it’s going to be done, understand‘.7

That’s ri ght.

Yeah, just remember that always, homie, what we’re teaching you right now,
homie. And something else, homie, is that . . . a lot of people in this clique or in
other cliques are going to run to you with gossip that these guys here and these
guys there.

Uh-huh.

They can tell you, “Hey, MUERTO, that MUERTO is doing this and that to me.”
Never believe the gossip from another person.

Uh-huh.

Come and ask the homie in person

There will always be You’ll have to listen to, to several opinions so that you can
make a decision about a person. Never, never make a decision . . . never think that
CHENTINO or me, or PLAYER or MUERTO or whomever, homie, that we are
fucking up if only one person speaks. There always have to be four people who
speak, homie; when more than four people make decisions regarding a person

Have proof.

there’s something wrong there with that person, understand?

54

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 59 of 80

MUERTO:

CASPER:

MUERTO:

CASPER:

PLAYER:
CW- l:
CASPER:
DUQUE:

LOBO:

MUERTO:

CW-l:

ANIMAL:

CW-l:

ANIMAL:

CASPER:

ANIMAL:

DUQUE:

Uh-huh.

Never, never, never let yourself be tricked, homie.

Don’tjustify

Because in this, we’re always some shit; we’re, we’re like a nest full of wasps,
dude, and you’re never going to be okay with all the wasps, homie. There will
always be one that’s jealous of you or, who will think...

Or will want to sting you.

Uh-huh.

Or they’ll think . . . or they’ll try to fuck you over.

For sure. That’s true.

Listen ANIMAL, and that’s, with that fucker saying to him, “Happy New Year,”
that’s what that Ul told the son of`a bitch.

And that’s being a part of it, homie, that’s part of the clique to do this Ul.

Hey, ANIMAL. But there’s one thing, one thing . . . Be honest here, for real. The
day of your hit, who was with you there or who was, if the. ..

No, it was just me and David. Only David and l were there. Yeah. Only David
was there. He was the only one that followed me, out of all of them; because they
all went somewhere else following some. ..

[end of session 001]

[session 002]

Ul

l mean, and l was the only one that left to the side to see what the deal was going
on and he, he was the only one that Ul.

And the other guys that went the other way, who were they?

lt was Luis , and CHUCHO from Everett, DUENDE from Everett. There were
several from Everett who were there.

And did they leave you alone?

55

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 60 of 80

UM:

ANIMAL:

CABALLO:

ANIMAL :

CABALLO:

ANIMAL:

CASPER:

DUQUE:
CASPER:
MUERTO:
DUQUE:
VAGO:
DUQUE:
VAGO:
CW-l :
DUQUE:
ANIMAL:

PLAYER:

CASPER:
PLAYER:

CASPER:

No, dude Ul.

Yeah, l was alone and l ran the other way, and nobody was Ul
No, he wasn’t alone, they came back to

l only saw David, David saw that l went and he Ul

They came out; they ran over to chase other guys he said. The doggie was lucky
that he stabbed the son of a bitch, Well done!

Yeah. And when l was going, only David was behind me. And it was with two
that l ran into over there. Yes, but when that dude arrived just like that and the

other Puerto Rican that was with that guy left and that’s when we Ul.

You have to get ready to hit f those guys in the face who say, “Oh, the Everetts
did the killing.” “No, l did the killing.”

You did it?

You did

No, l did Ul.

Right? You did it.

That’s why this homie is asking who was there because. ..

He didn’t ask for any. ..

that day Ul.

No, l’m doing it, to, to . . . so that they’ll know, do you understand?
Look, you did it, you didn’t do it for any clique, you did it for the letters!
Yes.

You will have to forgive me, homey, but supposedly, the Everetts are trying to
take credit for that murder, homie, you know. That’s the thing

No, but look.
And then they went to loot the Ul.

Let it be heard on the streets.
56

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 61 of 80

PLAYER:

CASPER:

ANIMAL:

UM:

CASPER:

CABALLO:

ANIMAL:

CASPER:

DUQUE:

CW-l :
BRUJO:
DUQUE:
PLAYER:

DUQUE:

ANIMAL:
DUQUE:

BRUJO:

CABALLO:

Ul.

Let it be heard on the streets and with the police, that the Everetts did it, homie.
lt’s to our advantage

Right.

Yeah, Ul.

lt’s good for you and it’s good for us, What is good for us here is that when as a
homeboy for the East Side, which you will be; you say, “Hey, there goes
ANIMAL, a homie from East Side, dude.”

And puff your chest out, dude.

Yes.

“And l’m the one that did that hit, yeah.” With the Mara guys, and if some
civilian comes to ask you, “Hey, homie, who did it?” You say, “lt was the
Everetts, it was the Everetts.” And put the blame on them. That’s good for you,
dog.

Hey, but at that time, when you did that hit or whatever you weren’t in, in the
Everett clique.

You were on observation

He was not with the Mara yet,

Right, so then, what he did. ..

And why did he do this hit as a paro, They told him that he was in the Mara.

No, well, that’s right. Because what he did then was not a killing from Everett,
instead, he did it, you know?

Yeah, l was a paro there.
For himself. He did it there representing the letters.
Well, Ul f`or that Ul.

But well, leave it like that, homie. That they did the killing, they don’t know what
happened anyway. Right?

57

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 62 of 80

CW-l:

CASPER:

CW-l:

CASPER:

LOBO:

CASPER:

LOBO:

CW-l:

UM:

CW-l:

LOBO:

CABALLO:

LOBO:
C“hk
LOBO:
UNL

MUERTO :

CW-l:

UM:

MUERTO :

No, but, you know . . . The problem is that, no, when . . .

The thing is like this, look doggie

That later on, they get upset.

The witness is going to go down South and you’ll have to talk to some people. ..
Focus on the room, l’m also going to look for a room.

People are going to ask you Ul.

lf anything comes up, l’ll call you tomorrow.

Let’s look at that one, that one over there.

We can be go in one car early tomorrow and one of us can get out, and the other
one gets in . . . And we canjust drive like that, to see what the deal is, in

Somerville, Chelsea

Yeah, and if not, and that one that one over there is in, good area. Because as long
as this guy is hiding out and we just go to pick him up,

Dude, there is only a girl there and the old lady. That’s all. lt’s behind City Hall.

That . . . why were you doing hits with the Everetts, that why are you now with
the East Side. lt’s a bunch of things there

ls it 122?

On Ford Street? No, it’s on . . .

You’ll have to talk to those people, dude.
No, it’s on that street, by the cemetery, down

And don’t, don’t lower your head, walk with you head held high, and don’t give a
shit about what Ul.

ls it Marlborough Street? No.

No, it’s further down from Marlboro. The one that goes through by here and then
from the school it goes up.

Let’s go then.

58

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 63 of 80

UM:

CW-l:

LOBO:

CW-l:

CASPER:

ANIMAL:

CASPER:

CW-l:

CASPER:

MUERTO:

CW-l:

CASPER:

CW-l:

CABALLO:

MUERTO:

CW-l:

CASPER:

MUERTO:

CASPER:

All right then
Let’s go see.

l’ll give you a call. I’m going to speak to her clearly tomorrow and l’ll give you a
call tomorrow, around five or three in the afternoon, to see what’s going on.

You got it.

Look, uh, l spoke to PANTERA. Do you know who PANTERA is?

Oh, yeah, l know that homeboy.

So, l already talked to that guy, right, and l spoke about you with that dude,
homie, and supposedly he was going to meet with the Everetts to clear that thing
up, homie. From the looks of it, he didn’t clear it up too well because they kept
calling you. But now, we’ve talked about what we’re going to do, you know? The
thing that’s going to happen is that we will also have to pay these homies that
money, What the dude told me is that. .. because they are going to start bugging
us about that money,

Yes.

Sooner or later, because we were bugging CRAZY, remember.

And how much money is it?

Hold on, but

Three hundred bucks.

But there’s one thing. ..

Yeah, that’s true because these homies gave those dudes some money

How much?

Hold on Three hundred bucks.

What do you mean?

These guys gave them about three hundred and fifty bucks. These homies gave it
to Chepo yesterday and Chepo kept quiet. “Why are you all bugging me about

that money?” He said to that dude.

What money?
59

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 64 of 80

CABALLO:

CW-l:

CASPER:

CABALLO:

ANIMAL:

CASPER:

UM:

CASPER:

ANIMAL:

UM:

CASPER:

UM:

ANIMAL:

CASPER:

CW-l:

UM:

ANIMAL:

UM:

CASPER:

MUERTO:

CASPER:

That those guys gave some money to Chucho, Chucho from the Everetts because
Chucho from the Everetts was going to leave, and Chucho never left and Ul.

For that same killing, you know, that this guy here did. Supposedly, Chucho had
heat on him,

But did that come from your pocket or from the clique?
From the pocket of these homies.

No, from our pockets.

Whose pockets? Which dude?

From this one.

From this one and whose else?

l gave him one hundred and. ..

Th_e kid running around with us.

Huh?

The kid running around with us.

l gave him 10, David gave him 100, Luis gave him 50, SERlO gave him 50 and
Chamuco gave him 40.

None of them are in the Everett clique?

No, it’s just the ones that are here with us, homie.
No.

No.

That’s what l’m saying,' doggie.

Oh, well, it’s done,

Chamuco? From our clique?

That debt is paid up.

60

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 65 of 80

CW-l:

CABALLO:

CASPER:

PLAYER:

UM:

CABALLO:

UM:

NEGRO:

CW-l:

PLAYER:

CW-l:

MUERTO:

UM:

MUERTO:

UM:

CW-l:

CABALLO:

UM:
DUQUE:
UM:

PLAYER:

No, man. Another Chamuco . . . another Chamuco.

That’s the same thing that this homie told that guy yesterday and the guy kept
quiet about it, dude.

Then that debt is paid up.
We gave money and they are still charging us.
That debt is paid up, then.

That homie asked, “How are you doing with the money, homie? We gave to your
dude and what’s going on? Ul”

And the dude went to talk to him at Ul and Ul he was back there again.
Hey, dude, uh, they are Ul four of us Ul.

Right.

Yeah, l told him, and the guy said Ul

Let’s all just go, understand? So they can see what’s up, dude. l’ll go with you,
man. l don’t give a shit.

l don’t have a problem with that. You don’t need a lot of people, homie.

No, l’m going to call him and tell him that l want to see him, homeboy and we’ll
meet with him,

About six of` us can go.

You don’t need a lot of people, dude.

With six. Four.

One stays in the car with the gun, just in case.
Three homies in the

We call Ul.

Three homies is what Ul.

We can make a call to him right now,

61

Case 1:15-Cr-10338-FDS Document 2761-1

CASPER:

DUQUE:

CABALLO:

DUQUE:
UM:
DUQUE:
CASPER:
UM:
CW-l :
DUQUE:
CW-l :

CASPER:

ANIMAL:
DUQUE:

ANIMAL:

UM:
MUERTO:
CW-l :

PLAYER:

ANIMAL:

PLAYER:

Filed 10/09/18 Page 66 of 80

Well, yeah.

Well, go.

With about four of us going, that’s Ul.
That’s right.

Let’s go.

Ul

But the deal with those guys is that also have to fuck them up
No, we can’t fuck them up.

No, no, we can’t fuck them up.

lt’s about talking to them.

lt’s about talking, dude.

Ul the other day after we dropped by on them, and they said that fuck, we were
there to spot them.

No, man. l Ul
Call him and tell him that we are going.

That you all were saying that we were going to meet them face to face, for better
or for worse.

They told you?
Ah, well then, we will meet for worse, if they Want it for worse.
That’s right, dude. l called them back myself.

Remember that l told you that if you were with us, l told you that whatever
happened to you, would happen to all of us?

No, yes.

And l literally said this to you, didn’t l, dude?

62

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 67 of 80

CASPER:

CW-l:

CASPER:

MUERTO:

CABALLO:

CW-l:

CABALLO:

CW-l:

CABALLO:

CW-l:

DUQUE:

CABALLO:

DUQUE:

CABALLO:

DUQUE:

CABALLO:

CW-l:

UM:

CW-l:

CASPER:

The deal is that we can do this, dude, this guy can go see the Ul there, you know?
And tell them... Hey, we could do it here, homie, but...

They won’t come here,

The sons of bitches know that we are all here.

No, and besides, he’s not going to call this dude because Ul.
Hey, Ul just call him and have him put FLACO on Ul.

He won’t answer me.

Huh?

He won’t answer me; l also told him that he was shit.
Excuse me, dudes, I’m going to take a leak, man.

Go ahead, homie.

No, you can’t go.

But dude, l clearly told them that this dude was with us and if those sons of
bitches had a problem with you. ..

Hold on.

lt will be with all of our Side and with us.

Yeah.

With all of our Side and with us

Hey, we need to keep it in mind, you know? Because those kids are running with
us. They are the ones that are also there, you know? And they are the ones that
gave the money, so they are part of our group. you know?

They are the ones that Ul the dudes.

Yes.

Hey ANIMAL, l hope, homie, it’s not for anything, homie, but this stuff that

we’re talking about right now, won’t be, dude, because, homie, you want to fix
the problem with them and l don’t know if it is from the heart that. ..

63

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 68 of 80

DUQUE:
ANIMAL:
CASPER:
CW-l :

ANIMAL:

CABALLO:

CW-l:

CASPER:

CW-l:

MUERTO :

CW-l:

MUERTO:

PLAYER:

UM:

MUERTO:

BRUJO:

UM:

BRUJO:

VAGO:

BRUJO:

VAGO:

For sure, homie.

No, but it is from the heart, homeboy.

All right.

No, well, l can see that it is from the heart, dude. Look at the. ..
When l have the chance_

For sure.

At the three things they’ve done this month . . . in these last few weeks, they did
them amongst themselves, you know? Even . . . even TIGRE.

No, but, what l’m saying is that it should be from his heart that he wants to be
with us.

That’s right.

But, he can’t resolve the problem with the Everetts.
No.

No, but. ..

No, but it all has to do with that clique, dude, because shit, the dudes are putting
so much pressure on this guy because there’s something going on.

Ul
They fucked up, dude.

And you know what the Everetts told the Hollywoods? That there were, l think,
about four or six kids from the Hollywoods. ..

Ul.

That no clique could jump kids here, only the Everetts.
About the kids, they told us that we couldn’t jump anyone.
You hear that?

They did say it, doggie.

64

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 69 of 80

CW-l:

BRUJO:

CABALLO:

CASPER:
DUQUE:
PLAYER:
CW-l:
CASPER:
MUERTO:
CASPER:

PLAYER:

CABALLO:

PLAYER:

CABALLO:

MUERTO:

UM:

ANIMAL:

CW-l:

VAGO:

CW-l:

VAGO:

CW-l:

VAGO:

lt’s true.

That no cliques could jump any homie over here, only the Everetts
We had two kids as chequeos, homie, and two

And who, who made that up?

Ul.

But l think l had already heard that.

All of them.

Hey, look, and who knows who the ones that are active in all that are,?
That’s right.

Because look, we are the old guys but the old guys . . .

Ul.

That’s what they said, that’s what the Everetts said,

Oh yeah?

No other, that no other clique can jump people in here, only them.
That we didn’t have permission to jump anyone in, that only they did
Uh-huh. Then, those other guys, dude, they brainwashed them and Ul.
And, well, the one, the one that has the word there Ul.

Bring him back here since you are from the Hollywoods, but. ..

Ul No, doggie. you know?

You see?

And that’s what was going on there.

Go and talk and we will back you up with that shit.

No, and l’m Ul homie, there.

65

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 70 of 80

CASPER:

UM:

CASPER:

UM:

CASPER:

CW-l:

CASPER:

CW-l:

UM:

CW-l:

CASPER:

CABALLO:

CW-l:

CASPER:

CW-l:

CABALLO:

CASPER:

CABALLO:

CW-l:
CASPER:

CW-l:

And, well Ul.

Huh?

Call El Salvador. ..

No, uh, he was . . . he was Uh, right now

Hey, homie. Let’s jump this guy in now Ul.

Go ahead Ul.

UI we were Ul.

Hold on, homie.

Move it over there. I’m not responsible Ul.

One thing homie, is that . . . now, the beatings are that, you can’t, you can’t . . . if,
if you fall to the ground, you don’t have to get up and they cannot kick you
around either, because. ..

One . . .

What did you say, homie?

No, that, that thejumpi-ng in now, you can’t . . . Now . . . Well, l don’t know. You
have to. .. Because if he falls to the ground, you guys can’t pick . . . you have to
pick him up, understand? You can’t leave him on the ground

Huh?

l was watching somejump-in, that, that they’ve made really cool now. l don’t
know what the deal is. you know?

No, but Ul.

Ul.

Ul nothing is going to happen to him,

No, but, that’s why.

Ul and he has to pick himself up. That’s it.

That’s right.
66

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 71 of 80

CABALLO:
CASPER:
PLAYER:
BRUJO:
CABALLO:
CASPER:
CW-l:

UM:

CW-l:

UM:
BRUJO:
CASPER:
CABALLO:

CW-l:

CASPER:
MUERTO:
PLAYER:
PLAYER:
PLAYER:
PLAYER:
PLAYER:

CW-l:

Yeah.
Yeah, Ul.
Ul.
Ul we’re going to UI ours.
Ul paro, man.
Ul paro.
Hey homie, grab it from here, or let’s move this so he doesn’t hit this here, man.
Where, here?
Hold on.
Bring the Ul over here.
Ul legs.
Ul please, over here, UI seconds.
Yeah, Ul. Take that hat off, homie. Take it off, man.
Be alert here, homie. ln case he lands here, or kneel down instead, in case he
comes like over like this. Grab on to that. Hey, kneel down here, don’t let him
land here on the ground
Ul one.
How many will do it?
One
two, three . . . Hold him.
Three.
Foun
Four, five, six, seven, eight, nine, ten, eleven, twelve, thirteen. Ul.

Hey, hey, Up here, up here, not in the face, homie, no
67

Case 1:15-Cr-10338-FDS Document 2761-1

CASPER:

CW-l:

CASPER:

UM:

CW-l:

ANIMAL:

CASPER:

CW-l:

UM:

CW-l:

UM:

CABALLO:

PLAYER:

ANIMAL:

CASPER:

UM:

CW-l:

ANIMAL :

CW-l:

ANIMAL:

CABALLO:

CW-l:

CABALLO:

Filed 10/09/18

Hey, homie.

You hit him in the face, dude.

l told you not to hit him in the face, homie.
No, no. lt was on the outside, on the side.
That was tough.

Ul.

Let’s go, let’s go.

Right, dude? You hit him in the face, right, dude?
Ul.

Are you okay?

Ul phone.

Ul Help me. Welcome to the Mara, buddy.
Ul.

No, no, no.

Let him, DUQUE. Let’s go, man.

Ul.

He hit you on the mouth, right?

Yeah, right here, Look.

Yeah, l saw that he hit you.

Yeah.

Oh, well,

No biggie, doggie. Those are things that. ..

Ul.
68

Page 72 of 80

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 73 of 80

ANIMAL:
CASPER:
ANIMAL:
CABALLO:
ANIMAL:
CW-l:
CABALLO:
CW-l:
CABALLO:

CW-l:

CABALLO:
CW-l:
CASPER:
CW-l:
MATADOR:
CW-l :
CABAL£O:
CW-l :
CABALLO:
UM:
CABALLO:

UM:

Ul homeboy.

Mara, dude.

Mara, homeboy.

East Boston. Welcome to the Ul.

Mara, man. Siders.

Let me move this thing here so that guy won’t say anything.
Ul if you’re going to throw it out, l’ll take it, man.

Take it home, homeboy.

Right?

No, it was there, leave it there so they won’t be able to tell that we came here,
man.

Let’s put it up there in the car.

No, man. What for?

Ul.

CHENTINO, let’s put the box inside your car, homeboy, in the Kia.
No, man. You want to mess it up._

Hey, MUERTO, this dude . . . He does take care of the Kia, dude.
You know that it cost him, man.

No, man. That’s the present that Santa Claus brought him, man.
Like what else, dude. Which homie would give him another one, man?
Ul we’re going.

Where?

Ul.

69

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 74 of 80

CABALLO:
CW-l :
ANIMAL:
CW-l :

UM:
CABALLO:
CASPER:
ANIMAL:

CW-l:

UM:
CW-_l:
CASPER:

CW-l:

CHENTINO:
CABALLO:
CASPER:
CW-l :
CABALLO:
CW-l :

UM:

CW-l:

Open up here, Ul.

How the fuck? He can’t go out right now.

Ul.

Think about it, man. Now, l already told you, man. Now, it’s awesome.
That’s closed

Alright,

Ul here, lock it up.

Ul.

lt’s just that now, man. Now it’s . . . Let’s, let’s bring the, the kids, you know?
The other ones.

lt’s that, it’s that Macho is the only one that likes to sweep.

Hey, hey, CASPER. Hey, CASPER.

No, man. l was just turning on the car Ul.

Hey, hey, homie. Listen, the kids were calling this guy, to talk to me to . . . the
other ones that are around there . . . that we should fucking put them in chequeo.
That they don’t want to be just paros, you know, just like civilians. They want to
be involved in something and well, yeah, they have done some things with these
homies.

When l just now went over there to pick up this dude, they were all there.

lt’s not hard to find them.

Ul.

And what’s, what’s the deal with you, CABALLO? CABALLO?

I’m going to bring the drinks, dude.

CABALLO?

Ul.

CABALLO.
70

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 75 of 80

CABALLO:

UM:

CW-l:

MUERTO:

CW-l:

UM:

MATADOR:

CW-l:

CASPER:

MATADOR:

CW-l:

ANIMAL:

CABALLO:

CASPER:

CW-l:

PLAYER:

UM:

PLAYER:

ANIMAL:

MUERTO:

ANIMAL:

CW-l:

l-luh?

Hey, homie Ul.
Homie, good night.
Ul dog, we’ll see you.
Alright, man.

Ul.

Look, so, about tomorrow, l’ll give you a call to see what’s going on with that
guy or whatever.

Alright.

Ul.

Alright.

Alright then, For now, he’s fine there but you know, we have to look some more.
Alright. God willing we’ll see you later, man.

Ul.

l have, l have uh, another half bottle there.

You had to do it today, you know? To get those kids up to speed there.

Ul look, this homie told me that Ul. He never called me back.

What Ul.

Remember that we had . . . there was a girl there? Well, there was a girl there and
she started to say that she had Ul she told me,

Look, Ul.
l see that . . .
And the thing is here . . . look at the Ul with this homeboy.

The Playb_o
7l

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 76 of 80

MATADOR:
CW-l :
MATADOR:
ANIMAL:
CW-l :
CABALLO:

CW-l:

ANIMAL:
CW-l:
ANIMAL:
BRUJO:
CW-l:
BRUJO:
CW-l:
BRUJO:
CW-l:
BRUJO:

CW-l:

BRUJO:

ANIMAL :

BRUJO:

Look . . .

Hey!

Look, hold on, look what l want to show you.
Your boyfriend, man.

Nah.

No, dog. No, no, not Ul. Look at what we have.

She’s single, that’s what she said the other day, right, homeboy? In front of Luis
and in front of everyone. Go for it homeboy, if that’s

[laughs]

What did she say? That’s right.

She’s stuck up, she says this man is a show off, he’s treating her as beautiful, Ul.
She gave it to me.

Huh?

She gave it to me.

That’s right, homeboy. That means Ul.

No, but l, l Ul tell her respectfully

Hey, hey homie . . .

“Hey, you’re very pretty.”

Hey homie, but let’s see if we can bring . . . Let’s not leave the other kids behind,
homie.

No, it’s that the other kids . . . This homie wants to see what’s up.

No, no, man Ul. But this homie, David, also wants to see what the hell is going on
Ul dude.

No, that’s why I’m telling you . . . like l told the homeboys right now. “l-ley,
homeboy, it’s not about going to bars doing hits.

72

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 77 of 80

CW-l:
BRUJO:
CW-l:
ANIMAL:
BRUJO:

CW-l:

BRUJO:
CW-l:

BRUJO::

CW-l:

CABALLO:

CW-l:

BRUJO:

CW-l:

BRUJO:

CW-l:

BRUJO:

CW-l:

CW-l:

No, no, no. lt’s uh, we’re out on the street,
What l told them is the truth, homie.
That’s right, it’s that, it’s that Ul.

Just Ul.

Did you see how Ul.

Have you seen that since l got here, l’ve mostly been out on the streets with these
guys?

Did you, did you, did you hear what l said?
That’s right.

l said it because of CHECHA. Because Ul so he’ll admit, because now Ul don’t
give a fuck.

No, that’s what he said to me that day. Just because we were Ul.

No, it’s that . . . No, the Ul that’s what l said to them.

l told you that l was going to throw. ..

Did you see, the dude even stared at me when l made the Ul.

No, because l

And now, Chucho . . . Ul.

No, because l don’t like those things and that’s what, what he told me, And no,
no. l said, “Dog, oh, you’ll have to go through me to touch him. Go ahead and
touch him.” Bullshit, man. You know what the deal is.

Yeah.

Yeah, doggie. Let them go over there with the Everetts and let them tell you,
homie.

Tell him, “The money? How much was it that we gave took off from making
money at that bar?”

73

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 78 of 80

ANIMAL:

BRUJO:

CW-l:

CABALLO:

CW-l:
BRUJO:

CW-l:

BRUJO:
CW-l:
BRUJO:

CW-l:

MUERTO:
CW-l :
CASPER:
CW-l :
ANIMAL:

CW-l:

CABALLO:

CW-l:

UM:

Yeah, Chico said that the other day, doggie, he was sitting in a chair Ul by
himself, the son of a bitch. And there was no reason why, right? l wanted to Ul
and l told the fucker that, “You are the doggie, the son of a bitch, because that
man was exactly the same fiirt as you,” l told him that.

Yeah, that’s what Chico said. You know what Chico said? He said, “Well, it’s just
that the two of you

lt’s just that homie

He said, “l can’t, l can’t be in Chelsea with you two because you have gotten
down on everyone in Chelsea.” You guys, you guys are all like Ul damn dude Ul.

lt’s that, the same with MUERTO. Huh?
Ul.

No, homie. lt’s that . . . That’s, that’s why l like to hang out with MUERTO,
dude.

l have a shitload of excuses. l told Chico, “Look, dude“
I’m going to make a run, right now, l’ll stop by on the way back, dude.
Great. Ul.

Hey, MUERTO. MUERTO. Are you going to be here, man? I’m going to make a
run right now, dude.

Alright, dog.

l’ll be right back.

Ul lt’s a mess, a mess down there.
l’ll be right back, doggie.

Just wait until l Ul.

Chucho . . .

Huh?

Who’s outside?

Ul Joe.
74

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 79 of 80

MATADOR:
CW-l:
MATADOR:
CW-l :
CABALLO:
MATADOR:
CW-l :
CABALLO:
CW-l:
PLAYER:
CW-l:
CASPER:
CW-l:
MUERTO:
CABALLO:
CW-l:
CABALLO:
BRUJO:
MUERTO:
MATADOR:

CASPER:

PLAYER:

Oh, yeah, tell him to come in.

Hey, Joe, I’m leaving, l’m going to run an errand that l have pending there, man.
Uh-huh. But it’s that, homie, they are also Ul.

I’m going before CHENTINO beats me to it, homeboy.
Bring us some beer homie.

Ul Me, too; to Metapan.

No, right now, I’m going to, to run an errand, doggie.
Where are you going?

I’m going all the way to Boston right now. l don’t . . .
Do you have a little weed joint around?

No, doggie, l

No, well, it’s not in his best interest to go back, man.
This homie

Well, where is that guy?

Well, yeah, do you have weed, doggie?

No, l mean, he’s the homie who has . . .

Hey, BRUJO. Get me something . . . a

That’s right, but we need three times three.

UI l’ll change your tire, man. Get over there, man

Ul. l

Ul the homeboy is going to get all the traffic behind just to go get some,
homeboy.

Ul.

75

Case 1:15-Cr-10338-FDS Document 2761-1 Filed 10/09/18 Page 80 of 80

CABALLO: That’s what l said
CW-l: The clients are here, doggie.
CABALLO: You’re fast with that shit.

CW-l: l’ll be back in a little while, in a little while, homeboy. Hold on, man. I’m going
to bring Ul. Alright, man.

ANIMAL: Alright, doggie.
CW-l: Alright, Chucho, l’ll be right back.

CHUCHO: Ul whatever is here. Go quickly.

CW-l: Alright.

CHUCHO: Ul.

CW- 1 : Alright.

UM: Have a good one, man.
CW-l: Yeah.

End of recording.

76

